Case 2:04-cr-20315-BBD Document 43 Filed 06/23/05 Page 1 of 5. PagelD 43

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MEMPHls division 05 JUN 23 mmi z.,

UNITED STATES OF AMER|CA ROBEE&T Shgb?§@jé$
E'. ‘ .\.,.

-v- 2:04cR20315-01-D €\fs.‘ cs m miamPH\S
EUGENE L. CAMERON

Marv Catherine Jermannl FPQ

Defense Attorney

200 Jefferson Ave., Ste. 200

Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1-5 of the indictment on March 04, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & section Natu_reof.g..f£@§ offense Ml§l
Mg
18 u.s.c. § 2113(3) sank Robbery 07/19/2004 1-5

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996

|T IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/19/1975 June 20, 2005
Deft's U.S. |Vlarshal No.: 19799-076

Defendant’s Nlailing Address:
2207 Burch Rd.
Henning, TN 38049

RN|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE

June ga )- , 2005

"l'his doc!_lrneritcnt:-r¢'~rl r\-":f"1 docket sheet in compliance
Wlth Hule tx er;-l,‘nr S.’£‘(cj l'l:it..rf’ on _{t? 'd: §'¢’}5

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Case No: 2:04CR20315-01 Defendant Name: Eugene L. CA|V|ERON Page 2 of 4
lMPRtSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 70 Months.

The Court recommends to the Bureau of Prisons:

That defendant be allowed to participate in the Comprehensive Drug Treatment
Program;

That defendant be designated to the FC|-Ashland, Kentucky facility.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:04CR20315-01 Defendant Name: Eugene L. CAMERON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation ofhcer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training. or other acceptable reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

8. The defendantshall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation of&cer to visit him or her at any time at home or elsewhere and
shall permit connscation of any contraband observed in plain view by the probation ocher;

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Case No: 2:04CR20315-01 Defendant Name: Eugene L. CAMERON Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shell permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Cn'minal Morietary Penalties sheet of this judgment

ADDlT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shelf also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall participate in mental health counseling as directed by the Probation
Officer;

The defendant shall obtain and maintain ful|»time employment

The defendant shall cooperate in the collection of DNA as directed by the Probation Ocher.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fuil before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$500.00

The Special Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CR-203 l 5 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

